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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT
                                                    No. 24-3
                                    (District Court No. 3:24-cv-5072-JDA)

        FREDDIE EUGENE OWENS                             )
                                                         )
                Plaintiff-Appellant,                     )
                                                         )
                v.                                       )
                                                         )
        BRYAN P. STIRLING, in his official capacity      )
        as the Director of the South Carolina Department )
        of Corrections,                                  )
                                                         )
        SOUTH CAROLINA DEPARTMENT OF                     )
        CORRECTIONS,                                     )
                                                         )
                Defendants-Appellees,                    )
                                                         )
        and                                              )
                                                         )
        HENRY DARGAN McMASTER, in his official           )
        capacity as Governor of the State of South       )
        Carolina,                                        )
                                                         )
                Intervenor-Defendant-Appellee.           )
        _________________________________________ )

                                                CAPITAL CASE

                                  Execution of Appellant Owens scheduled for
                                          September 20, 2024, 6 p.m.

                     PLAINTIFF-APPELLANT OWENS’S REPLY IN SUPPORT OF
                            EMERGENCY MOTION FOR INJUNCTION

        I.     Defendants have failed to dislodge Owens’s showing that he has a state-created
               liberty interest, and is entitled to procedural due process protections.

               Defendants’ arguments on the question of whether state law confers a liberty interest are

        imaginative, but do not withstand scrutiny. Defendants first construct a straw man, asserting that

        Owens has asked “to receive whatever information he want[s] before electing a method.” Doc.




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        20, p. 19. That is not remotely what Owens seeks. What Owens wants is what the state court

        promised in the Owens decision: an explanation with “sufficient detail that a condemned inmate

        and his attorneys may understand whether there is a basis for [bringing an Eighth Amendment

        challenge]” and an explanation of “how [the director] determined the drugs were of sufficient

        ‘potency, purity, and stability’ to carry out their intended purpose.” 904 S.E.2d at 604-05. That is

        not what Owens received. As Dr. Almgren’s uncontested affidavit explains, there is not

        sufficient information provided to assess a potential Eighth Amendment claim. Nor has Director

        Stirling explained how he determined the drugs were sufficient other than to say, “trust me, I

        asked the state lab, and they are.” That cannot be deemed a meaningful fulfillment of the state

        court’s promise in Owens.

               Defendants next proceed to a misplaced discussion of South Carolina statutory

        interpretation. Doc. 19, pp. 20-21. It’s misplaced for two reasons. The first is that there is no

        reason for this Court to construe the state certification statute; the state supreme court already did

        that in Owens, and explained what the statute promised. Second, Defendants reach the strange

        conclusion that “[e]ither the right to elect remains valid or the Shield Statute does. But not both.”

        Doc. 20, p. 21. Yet Defendants totally ignore the fact that none of the drug-related information

        that Owens has asked for violates the terms of the secrecy statute, and Owens has affirmatively

        offered to enter into a consent protective order limiting further disclosure. The incompatibility

        that Defendants assert is nothing more than a figment of their imagination.

               Defendants’ next salvo is to claim that any alleged liberty interests have been satisfied

        because of Director Stirling’s assurance that the pentobarbital has been tested and approved by

        the S.C. Law Enforcement Forensic Lab (“SLED”), as if that were some kind of ironclad

        determination that cannot be subject to any degree of scrutiny. Owens is not suggesting bad faith




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        or misconduct on the part of the Lab, but there is a reason why the adage “trust but verify” has

        withstood the test of time. State crime labs are no stranger to errors. 1 The Court should resist
                                                                              0F




        Defendants’ argument that the South Carolina Lab’s role in the certification process should

        somehow be exempt from procedural due process scrutiny simply because they say—without

        providing evidence beyond their word—that the drugs will work as intended.

               In asserting that Owens (and this Court) must trust Director Stirling’s assurances,

        Defendants claim that Owens has done nothing more than “speculate” that his execution might

        be botched or that he might change his election if he knew more. Doc. 20, pp. 23-24.

        Defendants’ assertions show just how limited the information is that the Director provided

        Owens. All Owens knows is the name of the drug and that it was somehow tested by SLED.

        Owens does not know if SLED used the proper methodology, what the testing results showed,

        when the drug will expire, or if the Department of Corrections is continuing to store the drugs

        appropriately. This impedes Owens’s ability to point to specific concerns about the drug, to

        determine (with the assistance of an expert) whether the drugs are likely to work as intended, or

        to determine whether they are likely to cause a botched execution. That is exactly the problem

        raised in his complaint. Without more information, he was unable either to make an informed

        election or demonstrate the probability of a botched execution. 2 Defendants would have this
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         Just a few examples should suffice. In March 2024, the Mecklenburg County NC District
        Attorney identified irregularities in the county lab’s testing of biological evidence. In 2010, an
        Attorney General commissioned report revealed systemic problems in the NC crime lab spanning
        nearly two decades. Also this year, a Colorado Bureau of Investigation report found misconduct
        by an analyst that affected more than 1,000 criminal cases. In 2009, a sweeping report from the
        National Academy of Sciences revealed that the majority of criminal forensic techniques had not
        undergone sufficient testing to justify their claims of reliability.
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         The District Court properly found that Owens’s election, which was required by statute 14 days
        before his execution, does not moot his claim. Doc. 19, at 12 n.7 (citing S.C. Code § 24-3-
        530(A), (C)). As the district court recognized, if Owens’s execution is stayed, he will be entitled


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        Court create a Catch-22 where a plaintiff cannot seek additional information without proving the

        information (which he does not have) shows there will be a botched execution.

               Defendants make a passing attempt to justify the Director’s withholding of information to

        promote the state’s “interest in continuing to obtain legal injection drugs for future executions.”

        Doc. 20, p. 17-18. They assert that, by giving Owens any additional information, he would

        somehow divine the supplier, which he could share with others who could pressure the supplier

        to stop providing the drugs to the Department of Corrections. Id. Notably, Defendants make no

        attempt to explain how providing the testing methodology and results, or the drugs’ current

        storage conditions, would provide any information about the supplier of the drugs. See id. That is

        because they cannot. Information about the current testing and storage conditions has no link to

        the supplier and tells Owens nothing about where the drugs came from, though it would tell him

        more about the quality, purity, and potency of the drugs, as he has a right to under the execution

        method statute. See Owens, 904 S.E.2d at 605. Moreover, Defendants’ arguments in this respect

        are premised on assumptions of bad faith on the part of undersigned counsel, or a worry that

        counsel would disclose drug-related information beyond the bounds established by a protective

        order. Yet Defendants offer the Court no reason to make such an assumption, as none exists.

               Defendants insist that Owens would be able to determine the suppliers of the drugs if it

        were to provide the Beyond Use Date or the Expiration date, which they say will reveal whether

        the drug was manufactured or compounded. Doc. 20, p. 26. This falls well short of “identifying

        information.”




        to a new election prior to which he could be provided with the additional information he
        requests. Id.


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               Defendants’ protestations should not obscure that the requested information goes to one

        of the most basic–the most essential–facts about the drugs: when they stop being effective.

        Without this information, it is frankly impossible to know whether the drug will function as

        intended tomorrow night. Perhaps Director Stirling could provide documentation of the date on

        which the drugs stop being effective without disclosing whether that date is a Beyond Use Date

        or an expiration date. Alternatively, the date information could be provided under a protective

        order. Regardless, this information is simply too critical to deny on the ground that it might

        identify one category of supplier over another. In any event, this should be a matter for the

        district court to determine on remand, when it finds facts relating to the procedural due process

        analysis.

               Because none of the information requested by Owens violates the secrecy statute, there is

        no need to determine whether it or the execution methods statute controls. Owens can be

        provided with sufficient information to satisfy due process and allow him to make an informed

        election all while the Director complies with the secrecy statute, and while the State protects its

        interest in retaining the ability to conduct executions.

        II.    Defendants’ alternative arguments fail; Rooker-Feldman does not apply, and Owens
               cannot be precluded from litigating that which he did not raise in state court, and
               that which the state court did not decide.

               Owens has argued, in part, that Rooker-Feldman does not apply because he is not

        challenging a state court judgment. Defendants push back by contending that “Owens may not be

        challenging the validity of his death sentence, but he is challenging its enforcement. It’s just a

        backdoor challenge to his sentence.” Doc. 20, p. 16. But the U.S. Supreme Court has rejected

        this view. In Nance v. Ward, 597 U.S. 159, 168-69, n. 5 (2022), the Court reaffirmed the view it

        expressed over a decade earlier in two separate 2006 decisions, that a challenge to execution




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        procedures is properly brought as a § 1983 suit because “granting relief [would not] necessarily

        imply the invalidity of a conviction or sentence.” Thus, in Hill v. McDonough, 547 U.S. 573, 580

        (2006), the execution method lawsuit was allowed to proceed because the action, even “if

        successful would not necessarily prevent the State from executing [Hill] by lethal injection.” The

        same is true of Owens’s claims here. As such, there is nothing “backdoor” about Owens’s

        claims, as Defendants allege.

                Defendants’ remaining rejoinders to Owens’s Rooker-Feldman arguments fail to address

        Owens’s fundamental point: the jurisdictional doctrine is inapplicable because Owens’s suit is

        not a challenge to an adverse ruling of the South Carolina Supreme Court that is specific to

        Owens. It is a challenge to the S.C. Code § 24-3-530(B), which Director Stirling construed, and

        then the state court validated, in such a way to allow Director Stirling to undertake a certification

        process that violates Owens’s due process rights. That is why Rooker-Feldman does not apply.

        The subject of this lawsuit is not a state court ruling about Owens himself, but a “statute . . .

        authoritatively construed” by Stirling and then acquiesced to by the South Carolina Supreme

        Court. Skinner v. Switzer, 562 U.S. 521, 532 (2011); see also Reed v. Goertz, 995 F.3d 425, 430

        (5th Cir. 2021) (holding Rooker-Feldman inapplicable even where Reed challenged a statute on

        its face, as well as the statute “as interpreted, construed, and applied by the state court.”) (internal

        quotes omitted). 3
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                Finally, Defendants’ cursory preclusion arguments can be disposed of as quickly as they

        were raised. See Doc. 20, p. 18. Issue preclusion only applies when, among other requirements,

        “the issue or fact is identical to the one previously litigated” and “the issue or fact was actually




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         Reed v. Goertz, 598 U.S. 230, 234-35 (2023), reversed on other grounds, but affirmed this
        aspect of the Fifth Circuit’s ruling.


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        resolved in the prior proceeding.” In re Microsoft Corp. Antitrust Litigation, 355 F.3d 322, 326

        (4th Cir. 2004). Here, neither hold true. As Owens already explained in his initial motion, there

        is no way Defendants can show that the generalized due process reference that was proffered in

        state court is identical to the far more specific procedural due process claim on which Owens

        currently seeks review. And even if it was raised, it was neither actually resolved by the state

        court nor essential to the court’s decision. For starters, the state supreme court said in Owens,

        when discussing certification, that there was “a Due Process Clause component to our analysis . .

        . but the point of law on which we primarily rely is the text of subsection 24-3-530(B) itself.”

        904 S.E.2d at 604. The court then stuck with its solely statutory approach when it denied

        Owens’s objection to the certification on factual and statutory grounds alone, making no mention

        of due process. It’s hard to imagine a clearer example of an issue that was not “actually resolved”

        than one that the state court said it would not reach, and then kept its promise in a subsequent

        order by declining to address it in any fashion. As such, Defendants’ assertion of preclusion fails.

                                                 CONCLUSION

               Although this case does involve complex and important questions of law, the Court

        should not lose sight of the bigger picture. Owens was put in the position of having to choose his

        method of execution based solely on Director Stirling’s and the state crime lab’s word that the

        execution drugs were tested and approved; no confirmatory documents were provided. Owens

        then attempted to remedy this dearth of information in a way that accounted for the State’s

        interests, by seeking drug information not expressly foreclosed by the secrecy statute and

        offering to abide by a non-disclosure protective order. In short, Owens has made every effort to

        be reasonable and mindful of concerns about undue delay, while also protecting his own

        important interest in being able to choose how he will die with the benefit of the most basic




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        information. This careful balancing is exactly how procedural due process should work, and why

        Owens’s claim is likely to succeed on the merits. An emergency injunction should be issued in

        these circumstances. 4
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                                                      Respectfully submitted,

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          Although Owens’s guilt is not germane to the issues before the Court, Defendants raise it in
        their brief as an implicit basis for denying relief, see Doc. 20, pp. 10-11, and so Owens feels
        compelled to respond. Over the course of the past three weeks, Owens has submitted to the state
        supreme court two affidavits from his co-defendant recanting his prior testimony. In the
        affidavits, the co-defendant states, under penalty of perjury, that at trial the prosecution offered
        him a deal for his testimony that was concealed from the defense; he further states that Owens
        was not involved in the murder and not present in the convenience store at the time of the
        offense. These statements vindicate Owens’s long held position that he is innocent of the murder
        of Irene Graves. See Affidavits filed in State v. Owens, No. 2024-001397 on August 30 and
        September 18, 2024.


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        September 19, 2024




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                           CERTIFICATE OF COMPLIANCE AND SERVICE

               The foregoing document complies with the Court’s word limit for replies to motions.

        This document has been served upon counsel of record through the CM/ECF filing system.

               September 19, 2021.

                                                   /s/ Gabrielle Amber Pittman
                                                   Gabrielle Amber Pittman




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